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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                                 §
                                                       §
ERIN ENERGY CORPORATION, et al.,1                      §                   Case No. 18-32106
                                                       §
         Debtors.                                      §                  Chapter 11
                                                       §
                                                       §                  (Jointly Administered)


         DEBTOR’S EMERGENCY MOTION PURSUANT TO 11 U.S.C. §§ 105, 361,
          AND 364 AND FEDERAL BANKRUPTCY RULES 2002, 4001 AND 9004
           FOR A FINAL ORDER AUTHORIZING THE DEBTORS TO INCUR
                    POST-PETITION SECURED INDEBTEDNESS

A HEARING WILL BE CONDUCTED ON THIS MATTER ON JUNE 19, 2018 AT 9:00
A.M. IN COURTROOM 404, 4th FLOOR, UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS, 515 RUSK STREET, HOUSTON,
TEXAS 77002. IF YOU OBJECT TO THE RELIEF REQUESTED, YOU MUST
RESPOND IN WRITING, SPECIFICALLY ANSWERING EACH PARAGRAPH OF
THIS PLEADING. UNLESS OTHERWISE DIRECTED BY THE COURT, YOU MUST
FILE YOUR RESPONSE WITH THE CLERK OF THE BANKRUPTCY COURT
WITHIN TWENTY-FOUR (24) DAYS FROM THE DATE YOU WERE SERVED WITH
THIS PLEADING. YOU MUST SERVE A COPY OF YOUR RESPONSE ON THE
PERSON WHO SENT YOU THE NOTICE; OTHERWISE, THE COURT MAY TREAT
THE PLEADING AS UNOPPOSED AND GRANT THE RELIEF REQUESTED.

EMERGENCY RELIEF HAS BEEN REQUESTED, IF THE COURT CONSIDERS THE
MOTION ON AN EMERGENCY BASIS, THEN YOU WILL HAVE LESS THAN 21
DAYS TO ANSWER, IF YOU OBJECT TO THE REQUESTED RELIEF OR IF YOU
BELEIVE THAT THE EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU
SHOULD FILE AN IMMEDIATE RESPONSE.
REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.




         1
         The last four digits of Erin Energy Corporation’s (“ERN”) federal tax identification number are 9798. The
other Debtors in these cases are: Erin Energy Limited (“EEL”); Erin Energy Kenya Limited (“EEKL”); and Erin
Petroleum Nigeria Limited (“EPNL”). The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston,
TX 77056.
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TO THE HONORABLE MARVIN ISGUR, U.S. BANKRUPTCY JUDGE:

        The above-captioned debtors and debtors in possession (collectively, the “Debtors”), by

and through their undersigned proposed attorneys, hereby file this Emergency Motion for

Pursuant to 11 U.S.C. §§ 105, 361, and 364 and Federal Bankruptcy Rules 2002, 4001, and 9004

for a Final Order Authorizing the Debtors to Incur Post-Petition Secured Indebtedness (the

“Motion”) and in support hereof, respectfully states as follows:

                                           I.
                                JURISDICTION AND VENUE

        1.     This Court has jurisdiction over these matters pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicate for the relief requested in

this Motion are Bankruptcy Code §§ 105, 361, 362, and 363 and Bankruptcy Rules 2002, 4001,

and 9014.

                                             II.
                                        BACKGROUND

        2.     On April 25, 2018 (the “Petition Date”), the Debtors, filed voluntary petitions for

relief (the “Bankruptcy Cases”) under chapter 11, title 11 of the United States Code (the

“Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of Texas

(the “Court”). The Debtors continue to operate and manage their businesses as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.              An official

committee of unsecured creditors (the “Committee”) was appointed in the cases on May 16,

2018.

        3.     ERN operates through its subsidiaries as an independent oil and gas exploration

and production (“E&P”) company focused on energy resources in Africa with headquarters
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located at 1330 Post Oak Blvd., Suite 2250, Houston, Texas 77056. In total, ERN has ten (10)

wholly owned subsidiaries and one partially owned subsidiary.        EEL is a wholly owned

subsidiary of ERN organized under the laws of the Cayman Islands. EEL was founded in 2012

and is also the parent of EEKL. EPNL is a limited company incorporated under the laws of the

Federal Republic of Nigeria. Founded in 2009, EPNL is currently the main operating subsidiary

of ERN in Nigeria and accounts for almost all of ERN’s revenues.

       4.     EEKL is a subsidiary of EEL and is organized under the laws of the Republic of

Kenya. Founded in 2012, EEKL is the operating subsidiary of ERN in the country of Kenya.

Although EEKL holds four licenses in the country, there are no ongoing operations in Kenya.

       5.     The Debtors focus their efforts on acquiring and developing high-potential E&P

assets in Sub-Saharan Africa, and exploring those assets through strategic partnerships with

national oil companies, indigenous local partners, and other independent oil companies. The

Debtors’ current asset portfolio consists of five licenses across Nigeria, Ghana and The Gambia

covering an area of approximately 1.5 million acres. The Debtors’ strategic acquisitions and

aggressive E&P strategies have helped sustain their growth and success.

       6.     A number of factors – including regulation and the prolonged commodity

downturn – have had a material adverse effect on the Debtors’ financial condition. The most

significant impact has been in Nigeria where certain pending legal matters culminated in armed

agents of Nigerian Agip Exploration Limited (“NAEL”) boarding the EPNL offtake vessel and

seizing valuable assets. NAEL’s wrongful actions resulted in ERN and EPNL’s inability to

operate and market crude oil from the Oyo Field offshore Nigeria.

       7.     The disruption of operations in Nigeria coupled with the Debtors’ inability to

service mounting debt obligations and other trade payable obligations has resulted in a severe
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cash-flow shortage.     Through these Bankruptcy Cases, the Debtors seek protection and

enforcement of the automatic stay with respect to the Debtors’ assets while the Debtors seek

alternative sources of funding pending resolution of the Nigerian litigation.

                                            III.
                                    RELIEF REQUESTED

       8.      By this Motion, the Debtors seek this Court's authorization under sections 364(b)

and (c) of the Bankruptcy Code to obtain a debtor-in-possession loan (“DIP Loan”) from Greg

Holcombe (the “DIP Lender”) pursuant to the terms and conditions set forth in a non-amortizing

multi-draw senior secured term loan note (the “DIP Note”).

       9.      The Debtors seek entry of an order (the “DIP Order”), substantially in the form of

the order submitted herewith, to borrow from DIP Lender $1,100,000.00. The funds to be

extended under the DIP Order will provide the Debtors with operating capital to allow it to fund

existing payroll obligations and other immediate needs as set forth in the budget attached here to

as Exhibit A (the “Budget”).

       10.     The DIP Lender has proposed to lend the funds requested by the Debtors pursuant

to the DIP Order.

       11.     The Debtors have determined that the DIP Loan is vital to the Debtors’ ability to

among other things, permit the orderly continuation of their businesses, preserve the going

concern value of the Debtors, make payroll and satisfy other working capital and general

corporate purposes of the Debtors. The Debtors have already reduced their staff to a minimum

necessary to preserve the Debtors’ remaining assets. Without access to the DIP Loan, the

Debtors will not have sufficient funds to finance these minimum operations and will be forced to




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cease all corporate activities. Consequently, the Debtors’ continued viability and ability to

preserve the Debtors’ estates is dependent upon obtaining the DIP Loan.

        12.    The Debtors submit that the terms of the DIP Loan are fair and reasonable under

the circumstances. The DIP Lender is offering the DIP Loan with the view that this financing

will provide necessary capital to allow the Debtors to continue its efforts to preserve various

estate assets. The Debtors therefore request that this Court approve the use of the DIP Loan

consistent with the terms of the Budget.

                                         IV.
                                 SUMMARY OF KEY TERMS

        13.    The DIP Lender has proposed the following terms for the DIP Loan:


Debtor/Borrower:       ERN (the “Company”), EEL, EPNL and EEKL


DIP Lender:            Greg Holcombe (the “DIP Lender”).


Amount:                Up to $1,100,000.00.


Interest:              10.0% per annum, which interest shall be payable in-kind by adding
                       such amounts to the then outstanding principal balance on each
                       interest payment date.

                       Automatically upon the occurrence and during the continuance of any
                       event of default, all outstanding principal, fees and other obligations
                       under the DIP Note shall bear interest at a rate per annum of 2.0% in
                       excess of the rate then applicable to such DIP Loan.


Use of Proceeds:       No Debtor shall pay any expenses or other disbursements other than
                       those set forth in the Budget. The DIP Borrowers shall deliver to the
                       DIP Lender by 11:59 p.m. (New York time), on Thursday of each
                       week, rolling 13-week cash flows, together with a reconciliation for
                       the prior week and the cumulative period from the Petition Date.


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Maturity Date:       The maturity date of the DIP Note shall be the earlier of (a) 180 days
                     after the Interim Order Entry Date, (b) the effective date of any
                     chapter 11 plan for the reorganization of the DIP Borrowers or any
                     other Debtor, (c) the consummation of any sale or other disposition of
                     all or substantially all of the assets of the Debtors pursuant to
                     Bankruptcy Code section 363 or otherwise, and (d) the termination of
                     the DIP Note (the “DIP Maturity Date”).

Events of Default:   The Events of Default (each, an “Event of Default”) include:

                     1. The failure to make any payments when due; material inaccuracy
                        of representations and warranties when made or deemed made;
                        violations of covenants; material monetary and non-monetary
                        judgments enforceable and payable prior to payment of the DIP
                        Note;

                     2. The failure of the Guarantors to execute and deliver the Guarantor
                        Documents to the DIP Lender, or the failure of the DIP
                        Borrowers to execute and deliver the Local Law Documents to
                        the DIP Lender, in each case, accompanied by any necessary
                        consents, , and the validity, perfection and first priority status of
                        the liens granted under the Guarantor Documents, in form
                        reasonably acceptable to the DIP Lender, by the date that is 10
                        business days following the Interim Order Entry Date;


                     3. The filing of a motion by any Debtor seeking dismissal of any of
                        the Chapter 11 Cases or conversion of any of the Chapter 11
                        Cases to a case under chapter 7 of the Bankruptcy Code or the
                        bankruptcy or insolvency of any Guarantor without the prior
                        written consent of the DIP Lender;

                     4. The dismissal or conversion of any of the Chapter 11 Cases to a
                        case under chapter 7 of the Bankruptcy Code;

                     5. The appointment of a trustee, examiner or other person with
                        expanded powers under any of the Chapter 11 Cases;

                     6. The Bankruptcy Court’s entry of an order granting any lien or
                        claim that is senior to or pari passu with the DIP Lender’s liens
                        and claims under the DIP Note without the prior written consent
                        of the DIP Lender;

                     7. The payment or granting of adequate protection with respect to
                        prepetition debt (other than with the prior written consent of the

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                          DIP Lender);

                       8. The failure of liens or superpriority claims granted with respect to
                          the DIP Note to be valid, perfected, and enforceable in all
                          material respects with the priorities described herein or the failure
                          of any Guarantor Document to be valid and enforceable under
                          applicable law, or of any lien on any assets of the Guarantors
                          granted in favor of the DIP Lender to be valid, perfected and
                          enforceable in all material respects with the priorities described
                          herein, provided, however, failure to obtain government approval
                          for a lien on the assets of EEGAL shall not be an Event of
                          Default;

                       9. The filing of a motion by any Debtor seeking, or the entry of, one
                          or more orders of the Bankruptcy Court (i) reversing, amending,
                          supplementing, vacating, or otherwise modifying the Interim DIP
                          Order or Final DIP Order, as applicable, without the prior written
                          consent of the DIP Lender, or (ii) avoiding or requiring
                          repayment of any of the payments made to the DIP Lender in
                          accordance with the terms thereof;

                       10. The entry of one or more orders of the Bankruptcy Court
                           modifying the automatic stay without the prior written consent of
                           the DIP Lender;

                       11. The making of any payment not provided for in the Budget, or
                           any deviation in the “Total Receipts” or “Total Disbursements”
                           line of the Budget by more than 10% (measured on a cumulative
                           basis from the Interim Order Effective Date);

                       12. Any Debtor’s failure to comply with any other material term of
                           the Interim DIP Order or Final DIP Order; and

                       13. On or before the date that is thirty (30) calendar days following
                           the Interim Order Entry Date, the Final DIP Order shall have been
                           entered by the Bankruptcy Court.

Collateral/Priority:   The DIP Note shall be secured by first-priority perfected liens and
                       security interests (the “DIP Liens”), granted by the Debtors and
                       approved by the Bankruptcy Court pursuant to sections 364(c)(2),
                       364(c)(3) and 364(d) of the Bankruptcy Code, in and upon all
                       prepetition and postpetition real and personal, tangible and intangible
                       property and assets of each of the Debtors of any kind or nature
                       whatsoever, wherever located, whether now existing or hereafter
                       acquired or arising, including, without limitation, all cash, cash
                       equivalents, bank accounts, accounts, other receivables, chattel paper,
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                            contract rights, inventory, instruments, documents, securities
                            (whether or not marketable), equipment, goods, fixtures, real property
                            interests, intellectual property, general intangibles, investment
                            property, supporting obligations, letter of credit rights, commercial
                            tort claims, one hundred percent (100%) of the capital stock of each
                            Debtor’s direct and indirect domestic and foreign subsidiaries, all
                            inter-company notes held by the Debtors, trademarks, trade names,
                            licenses, rights to payment including tax refund claims, and causes of
                            action including proceeds of avoidance actions for preferences,
                            fraudulent conveyances, and other avoidance power claims under
                            sections 544, 545, 547, 548, 549, 550, 552(b) and 553 of the
                            Bankruptcy Code (the “Avoidance Actions”)), and any and all
                            proceeds, products, offspring, rents and profits of all of the foregoing,
                            including insurance proceeds (all of the foregoing, the “DIP
                            Collateral”).

                            Notwithstanding anything to the contrary, the DIP Liens: (a) shall,
                            pursuant to section 364(c)(2) of the Bankruptcy Code, constitute first
                            priority security interests in and liens on all DIP Collateral that is not
                            otherwise subject to any existing, valid and enforceable liens;
                            (b) shall, pursuant to section 364(c)(3) of the Bankruptcy Code,
                            constitute junior security interests in and liens on all DIP Collateral
                            immediately junior in priority to any and all existing, valid and
                            enforceable liens, including Senior Third Party Liens2 on or in the
                            DIP Collateral; and (c) shall, pursuant to section 364(d) of the
                            Bankruptcy Code, constitute senior priority priming security interests
                            in and liens on all DIP Collateral (in all cases for clauses (a), (b) and
                            (c) of this sub-paragraph, the DIP Liens shall be subject to the Carve-
                            Out and Senior Third Party Liens). The DIP Liens shall at all times
                            be senior to the following (i) any inter-company claim of any Debtor
                            or any domestic or foreign subsidiary or affiliate of any Debtor,
                            (ii) any security interest or lien which is avoided or disallowed or
                            otherwise preserved for the benefit of any Debtor’s estate under
                            section 551 or any other provision of the Bankruptcy Code, and (iii)
                            any other security interest or lien that is not a Senior Third Party
                            Lien. The DIP Liens shall, as of the Petition Date, be deemed legal,



        2
           For purposes hereof, “Senior Third Party Liens” shall mean liens in any DIP Collateral granted by order
of the Bankruptcy Court prior to entry of the Final Order; provided that, Senior Third Party Liens shall not include
liens on any causes of action, including without limitation, fraudulent conveyance actions and claims, for undue
enrichment or otherwise, against Nigerian Agip Exploration Limited, and any other persons or entities involved in,
or benefiting from, the seizure of crude oil owned by EPNL from the FSPO Armada Perdana pursuant to the Writ of
Attachment and Sale of Goods against Allied Energy Plc (“Allied”) and CAMAC International (Nigeria) Limited
(“CINL”), including, without limitation, Allied and CINL.

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                   valid, binding, enforceable, and perfected liens, not subject to
                   subordination (except as expressly provided in this Final Order),
                   impairment or avoidance, for all purposes in the Cases and any
                   Successor Case, in each case without the necessity of any further
                   action, including the execution or delivery by the Debtors (or
                   recordation or other filing) of security agreements, control
                   agreements, pledge agreements, financing statements, mortgages or
                   other similar documents, or the possession or control by the DIP
                   Lender of any DIP Collateral. Other than the Carve-Out and Senior
                   Third Party Liens, no other liens or security interests, whether for
                   postpetition financing, adequate protection or otherwise, whether
                   arising pursuant to sections 363 or 364 of the Bankruptcy Code or
                   otherwise, shall be senior or equal to or pari passu with the DIP Liens
                   in these Cases or any Successor Case without the express written
                   consent of the DIP Lender given in accordance with the DIP
                   Documents (which consent may be withheld in his sole discretion).
                   Without either (a) the prior written consent of the DIP Lender, which
                   may be withheld in his sole discretion, or (b) the indefeasible
                   payment and satisfaction in full, in cash of the DIP Obligations and
                   termination of the lending commitments under the DIP Facility, all on
                   a final basis, no security interest or lien shall be granted or allowed in
                   the Cases or any Successor Case, whether for postpetition financing,
                   adequate protection or otherwise, whether arising pursuant to sections
                   363 or 364 of the Bankruptcy Code or otherwise, on any asset or
                   property of any Debtor that is not subject to the DIP Liens in favor of
                   the DIP Lender.




Conditions         DIP Lenders obligation to provide funding under the DIP Loan shall
Precedent:         be subject to, among other things:

                   1. Entry of an order by the Bankruptcy Court approving the DIP
                      Loan, in a form satisfactory to the DIP Lender, in its sole
                      discretion.

                   2. The DIP Lender shall receive first priority security interests in:
                      (a) all of the equity interests in EEGHL to the extent owned by
                      EEIL (granted by EEIL pursuant to a Cayman law pledge
                      agreement), (b) all of the equity interests of EEGHL held by a
                      Debtor, and (c) all of the assets of EEGAL (granted by EEGAL
                      pursuant to Cayman law security agreement and a Gambian law
                      security agreement) (all such foreign law security documents,
                      collectively, the “Local Law Documents”); provided that any
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                            grant of liens on the assets of EEGAL will be conditioned upon
                            first getting necessary government approvals to grant such liens;
                            provided further that, upon entry of this Final Order, prior to
                            entry into the applicable Local Law Documents, the DIP Lender
                            will make funds available to the Borrowers under the DIP Note,
                            subject to the Approved Budget, while such governmental
                            approvals are being sought in good faith, it being understood that
                            the Debtors shall provide the DIP Lender with reasonable
                            assurances regarding progress towards entry into and
                            consummation of the Local Law Documents and the granting of
                            all other liens contemplated by the DIP Note.



                                           V.
                                  APPLICABLE AUTHORITY

       14.     Section 364(c) of the Bankruptcy Code provides:

                       (c) If the trustee is unable to obtain unsecured credit allowable
               under section 503(b)(1) of this title as an administrative expense, the court,
               after notice and a hearing, may authorize the obtaining of credit or the
               incurring of debt –

                      (1)     with priority over any or all administrative expenses of the
               kind specified in section 503(b) or 507(b) of this title;

                      (2)    secured with a lien on property of the estate that is not
               otherwise subject to a lien; or

                       (3)     secured by a junior lien on property of the estate that is
               subject to a lien.

11 U.S.C. 364(c).

       15.     Bankruptcy Rule 4001(c) governs the procedures for obtaining authorization for

postpetition financing and provides:

               (c)    Obtaining Credit

               (1)     Motion; Service. A motion for authority to obtain credit shall be
               made in accordance with Rule 9014 and shall be served on any committee
               elected pursuant to § 705 or appointed pursuant to § 1102 of the Code or
               its authorized agent, or, if the case is a chapter 9 municipality case or a

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               chapter 11 reorganization case and no committee of unsecured creditors
               has been appointed pursuant to § 1102, on the creditors included on the
               list filed pursuant to Rule 1007(d), and on such other entities as the court
               may direct. The motion shall be accompanied by a copy of the agreement.

               (2)     Hearing. The court may commence a final hearing on a motion
               for authority to obtain credit no earlier than 15 days after service of the
               motion. If the motion so requests, the court may conduct a hearing before
               such 15 day period expires, but the court may authorize the obtaining of
               credit only to the extent necessary to avoid immediate and irreparable
               harm to the estate pending a final hearing.

               (3)    Notice. Notice of hearing pursuant to this subdivision shall be
               given to the parties on whom service of the motion is required by
               paragraph (1) of this subdivision and to such other entities as the court
               may direct.

FED. R. BANKR. P. 4001(c).

       16.     In seeking the approval of a postpetition loan, courts consider the following

factors in determining whether obtaining postpetition financing pursuant to section 364(c) is

appropriate: (i) whether the debtor is unable to obtain unsecured credit under section 364(b); (ii)

whether the transaction is necessary to preserve the assets of the debtor’s estate; and (iii) whether

the terms of the transaction are fair, reasonable and adequate under the circumstances. See In re

Los Angeles Dodgers LLC, 457 B.R. 308, 312-13 (Bankr. D. Del. 2011) (noting these three

factors in considering proposed postpetition financing) (citations omitted); see also In re Ames

Dep’t Stores, Inc., 115 B.R. 34, 37 (Bankr. S.D.N.Y. 1990) (noting that a court “may not

approve any credit transaction under subsection (c) unless the debtor demonstrates that it has

reasonably attempted, but failed, to obtain unsecured credit under sections 364(a) or (b)”)

(citations omitted); In re Farmland Indus., Inc., 294 B.R. 855, 879 (Bankr. W.D. Mo. 2003)

(noting that courts look to various factors including whether “the proposed financing is an

exercise of sound and reasonable business judgment”).


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      i.     The Debtors Could Not Obtain Unsecured Financing.

       17.      As noted previously before the Court, the Debtors have sought postpetition

financing from various sources and until now have been unable to find any form of financing—

unsecured or secured. The Debtors do not believe unsecured financing is available from any

source at this time.

     ii.     The DIP Loan is Necessary to Preserve Estate Assets

       18.      The Debtors’ decision to enter into the DIP Loan is the culmination of an

extensive process the goal of which was to procure the best available financing under the

circumstances. Ultimately, the Debtors’ decision to enter into the DIP Loan was the best and

only real option available to the Debtors and entry of the DIP Order is in the best interests of the

Debtors, their estate and their stakeholders.

       19.      Failure to obtain this DIP Loan would gravely harm the Debtors and their

creditors.    Without access to the DIP Loan, the Debtors could potentially be forced to

prematurely convert these cases to chapter 7 to the detriment of all parties in interest. See In re

Farmland, 294 B.R. at 885 (approving postpetition financing that “gives the Debtors sufficient

time to market and sell several of their major assets so as to pay down the debt to the DIP

Lenders and then reorganize around their remaining core assets. Without the continued

financing, the Debtors would likely be forced into a Chapter 7 or 11 liquidation, to the detriment

of all creditors”); see also In re Barbara K. Enters., Inc., Case No. 08-11474, 2008 WL 2439649,

at *14 (Bankr. S.D.N.Y. June 16, 2008) (explaining that courts defer to a debtor’s business

judgment “so long as a request for financing does not ‘leverage the bankruptcy process’ and

unfairly cede control of the reorganization to one party in interest.”)



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       20.     Under the circumstances, the Debtors’ decision to enter into the DIP Loan is a

reasonable exercise of its business judgment, and the DIP Order accordingly should be entered.

See, e.g., In re Ames, 115 B.R. at 38 (noting that courts permit debtors to “exercise their basic

business judgment” when obtaining debtor-in-possession financing under section 364 of the

Bankruptcy Code); Trans World Airlines, Inc. v. Travelers Int’l AG (In re Trans World Airlines,

Inc.), 163 B.R. 964, 974 (Bankr. D. Del. 1994) (approving postpetition loan and receivables

facility because the facility “reflect[ed] sound and prudent business judgment”); see also In re

Simasko Prod. Co., 47 B.R. 444, 449 (Bankr. D. Colo. 1985) (“[D]iscretion to act with regard to

business planning activities is at the heart of the debtor’s power.”) (citation omitted).

       21.     Prior to seeking the DIP Loan, the Debtors and their advisors undertook a detailed

investigation as to the Debtors’ projected financing needs during the pendency of the chapter 11

case, and determined that the Debtors would require postpetition financing to support its

operational and chapter 11 activities. Accordingly, after significant efforts by the Debtors and

their advisors, the Debtors negotiated the DIP Loan in good faith, at arm’s-length, and with the

assistance of outside counsel, to obtain the required postpetition financing on terms favorable to

the Debtors.

       22.     The Debtors believe that the Court’s consideration of non-economic factors is

especially appropriate here. See In re ION Media Networks, Inc., Case No. 09-13125, 2009 WL

2902568, at *4 (Bankr. S.D.N.Y. July 6, 2009) (allowing for the consideration of non-economic

factors). Absent the DIP Lender’s willingness and ability to fund the DIP Loan, the Debtors

would likely run out of cash and would be forced to convert its case to chapter 7. The Debtors

believe that its assets will be greatly devalued by a chapter 7 conversion and that the claims

against it will grow exponentially.
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       23.      The Debtors and their advisors determined in their sound business judgment that

the DIP Loan provides a greater amount of financing on more favorable terms than any other

reasonably available alternative. The Debtors submit that entering into the DIP Loan constitutes

an exercise of its sound business judgment that should be approved by the Court.

    iii.     The Terms of the DIP Loan Are Fair and Reasonable.

       24.      In determining whether the terms of postpetition financing are fair and reasonable,

courts consider the relative circumstances of both the debtor and the potential lender. In re

Farmland, 294 B.R. at 886-89; see also Unsecured Creditors’ Comm. Mobil Oil Corp. v. First

Nat’l Bank & Trust Co. (In re Ellingsen MacLean Oil Co., Inc.), 65 B.R. 358, 364-65 n.7 (W.D.

Mich. 1986) (recognizing a debtor may have to enter into “hard” bargains to acquire funds for its

reorganization). Judged from that perspective, the terms of the DIP Loan are fair and reasonable.

The DIP Loan provides the Debtors the liquidity it needs to operate its business, thus permitting

the Debtors to effectively restructure, while establishing an appropriate cash balance.

                                                VI.
                                              NOTICE

       25.      Notice of this Motion will be provided by email, when available, or by traditional

mail to: (a) the Office of the United States Trustee for the Southern District of Texas; (b) the

Debtor’s secured creditors; (c) counsel for the Committee, and (d) the parties listed on the

Debtors’ master service list.    The Debtors submit that, in light of the nature of the relief

requested, no other or further notice need be given.

                                            VII.
                                BASIS FOR EMERGENCY RELIEF

       26.      An emergency exists because the Debtors face immediate and irreparable harm to

the estate absent the emergency consideration of the relief requested in this Motion. The
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immediate use is necessary, and it will stabilize the Debtors’ operations by paying ordinary,

postpetition operating expenses, as well as any court approved prepetition expenses that may be

at issue. As a result, if an emergency hearing is not set, the Debtors will be unable to operate.

       WHEREFORE, the Debtors respectfully request that this Court (i) authorize, on an

interim basis, entry of the order submitted herewith authorizing the Debtors to borrow the funds

necessary for the interim period; (ii) authorize the Debtor to execute and deliver the DIP Loan

Documents and perform such other and further acts as may be necessary in connection therewith;

(iii) set a final hearing as soon as this Court’s schedule permits, following 14 days after service

of this Motion for approval and entry of a final order; and (v) grant the Debtors such other and

further relief as this Court may deem just and proper.

       Respectfully submitted this 15th day of June, 2018.

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                                              DEBTORS

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   CERTIFICATE OF ACCURACY PURSUANT TO LOCAL RULE 9013-1(I)

I hereby certify to the accuracy of the matters set forth in the foregoing motion.


                                      By:       /s/ David L. Curry, Jr.
                                            David L. Curry, Jr.




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